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June 1, 2018

Hon. Pamela Pepper via eFiling
US District Court Eastern District of Wisconsin

517 E. Wisconsin Avenue, Room 362

Milwaukee, WI 53202

RE: Motion to Review Magistrate’s Decision on Stay of Proceedings
Court Case No.: 2:17-cv-355/2:17-cv-1128

Dear Judge Pepper:

Previously, I submitted a brief outlining the plaintiffs’ position with respect to the Motion to Stay
filed by Armor and three individual Milwaukee County Jail employees.

The Decision of Magistrate McDuffy is the correct decision, and submitting another brief would
be unnecessary and time consuming.

The individual plaintiffs reassert their original arguments that granting a stay would be
inappropriate and unlawful. The plaintiffs also adopt the brief filed by the Estate of Terrill
Thomas, file number 2:17-cv-355, that is consolidated with file number 2:17-cv-1128.
Respectfully submitted, x

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Walter W. Ste

WWS/dlv

Case 2:17-cv-00355-PP_ Filed 06/06/18 Page 1o0f1 Document 67
